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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

ELIZABETH GROOM, et al.

Plaintiffs,

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|
BANK OF AMERICA, FIFTH THIRD BANK, |
AS SUCCESSOR IN INTEREST TO FIRST |
NATIONAL BANK OF FLORIDA AND BANK _ |
OF CENTRAL FLORIDA; CAROLINA FIRST |
BANK f/k/a MERCANTILE BANK, SUN TRUST |
BANK , DUN & BRADSTREET, INC. |
and |
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DOES 1-100 inclusive,

Defendants.

 

08-cv-

COMPLAINT FOR:

1) BREACH OF FIDUCIARY
DUTY;

2) AIDING AND ABETTING;
BREACH OF FIDUCIARY DUTY;
3) AIDING AND ABETTING
COMMON LAW FRAUD;

4) AIDING AND ABETTING
VIOLATION OF THE FLORIDA
SECURITIES AND INVESTOR
PROTECTION ACT;

5) COMMERCIAL BAD FAITH;
6) AIDING AND ABETTING
VIOLATION OF FLORIDA’S
UNIFORM FRAUDULENT
TRANSFER ACT;

7) GROSSLY NEGLIGENT AND
RECKLESS
MISREPRESENTATIONS

DEMAND FOR A JURY TRIAL

Plaintiffs (collectively “Plaintiffs”) for their Complaint as against Defendants, by and

through their undersigned counsel, allege as follows:
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INTRODUCTION

1. This case involves the actions and inactions of defendants Bank of America; Fifth
Third Bank as successor in interest to First National Bank of Florida and Bank of Central
Florida; Sun Trust Bank; Carolina First Bank, formerly known as Mercantile Bank and Sun Trust
Bank (collectively referred to as “the Defendant Banks”) and Dun & Bradstreet, Inc. (“D&B”).

2. At all relevant times, Defendants turned a blind eye, at best, or actively assisted, at
worst, a long-term Ponzi scheme perpetrated by one Louis J. Pearlman (“Pearlman”) that robbed
hundreds, if not thousands, of elderly and unsophisticated investors, many who were in their 70's
and 80's, out of over $300 million of the investors’ life savings by facilitating the sale to these
investors of certain illusory investments (hereinafter described and referred to as the “Transcon
Investments”). Hereinafter, the Ponzi scheme perpetrated by Pearlman and his co-conspirators is
referred to as the “Pearlman Fraud.”

3. Many of those who purchased the Transcon Investments lost their entire life
savings which they amassed by sacrificing and cautiously saving throughout the course of their
working lives. The losses at issue are not the simple result of the failure of legitimate investments
to perform as expected; rather, this was a massive and pervasive fraud which could not have been
perpetrated had Defendants not violated their duties and wittingly or unwittingly facilitated the
Pearlman Fraud, thereby rendering substantial assistance to the fraudulent scheme perpetrated by
Pearlman, which devastated the Plaintiffs and their families.

THE NATURE OF THE PEARLMAN FRAUD

4. The term “Ponzi Scheme” derives from the notorious Charles Ponzi, who stole
millions of dollars from Boston investors in 1920 and describes a financial fraud which is
perpetrated by utilizing monies obtained under false pretenses from subsequent investors to pay
“interest” or “dividends” and return of principal to earlier investors who have no reason to
suspect that no legitimate enterprise is actually generating revenues to make these payments. A
Ponzi scheme will only last as long as there are new investors who part with their investment
funds anticipating unusually high returns. Eventually, the house of cards will have to collapse,
usually leaving the later-in-time investors holding the bag and the con-artist promoters in jail.

The Ponzi scheme perpetrated by Pearlman did not unravel until OFR finally brought injunctive
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proceedings against Pearlman in December 2006, after years and years of on-again, off-again
investigations by the State, effectively shutting down his operations.

5. From the early 1980's until December 2006, Pearlman and related entities wholly
owned by Pearlman such as Transcontinental Airlines, Inc., Trans Continental Travel Services
Inc., Clean Systems Technology, Inc., and other related companies and entities (collectively,
“Transcon”), offered and sold, and received proceeds from, unregistered and, hence, illegal
securities identified either as the “Employee Investment Savings Accounts ( “E.I.S.A.”), or as
common or preferred stock in one or more of the Transcon companies.

6. The E.I.S.A. savings program was marketed by Pearlman and his cohorts as
providing CD and/or savings accounts to friends and family of Transcon, with pass-through
Federal Deposit Insurance Corporation (“FDIC”) insurance and reinsurance through Lloyd of
London and AIG. The preferred stock sold in Trans Continental Travel Services Inc. was slated
to pay 10% annual dividends. Stock in other entities was sold as well, including Airship
International, Inc., another of the Transcon companies.

7. Unbeknownst to the Plaintiffs and other bilked investors, the Transcon companies
were little more than shell companies designed to defraud investors. There was no charter airline
with 50 airplanes as presented by Transcon on its balance sheets. Pearlman, the entertainment
impresario who obtained fame by promoting the “boy bands” ‘NSync and the Backstreet Boys,
was expert at moving assets out of one company and into another, and therefore out of reach of
creditors. He and his co-conspirators created an elaborate fake accounting scheme, with false
data from a fictional accounting firm, creating entirely fabricated financial statements which were
summarily republished in D&B reports for well over a decade.

8. By the time the scheme unraveled in late 2006, Transcon had few if any profitable
entities or divisions. No actual segregated E.I.S.A savings accounts were ever established for
investors and companies issuing preferred stock had little or no income or assets other than
deposits from the EISA program. As is typical in Ponzi schemes of this nature, Pearlman and his
co-conspirators used incoming funds from newer investors to pay principal and interest or
dividends to already existing investors.

9. Transcon’s E.LS.A. “savings program” was initially sold by Pearlman and his co-
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conspirators directly to investors. As the program expanded, the Transcon Investments were sold
through a loose network of sales agents, who were either licensed securities brokers or insurance
salespeople and who all reported to Pearlman’s chief salesman, Michael Crudele (“Crudele”),
someone who has been under continuous investigation by the State for illegally selling
unregistered securities and against whom the State had secured a cease and desist order against
such illegal conduct back in 2002.

10. Funds paid by Plaintiffs to invest in the Transcon Investments were deposited by
Pearlman and his co-conspirators into various Transcon accounts with Defendant Banks.

11. Plaintiffs were to be passive and were not expected or obligated to perform any
entrepreneurial effort in conjunction with their Transcon Investments to produce the income or
profit, which would result in the payment of the interest.

12. According to an analysis of the Florida Office of Financial Regulation (“OFR”),
between January 2003 and December 2006 alone, approximately $118 million in proceeds from
the sale of the E.I.S.A. program were received and deposited in the Transcon bank accounts.

13. Investors in the Transcon Investments were never advised that their funds would
be paid out to earlier investors for account redemption or as interest payments.

14. _ Investors in the Transcon Investments were never advised that their funds would
be paid to third parties in any manner and all E.I.S.A. investors were led to believe that their
funds would be held in segregated accounts with various banks, including the Defendant Banks.

15. Investors in the Transcon Investments were informed:

a. that the E.LS.A. program investor funds were held in U.S. bank accounts;

b. that the FDIC insured each E.I.S.A. account up to $100,000;

c. that a Lloyd’s of London insurance policy and Subsequently an AIG
insurance policy covered each E.I.S.A. account;

d. that a Florida C.P.A. firm, Cohen & Siegel, issued an opinion concerning
the E.I.S.A. program on May 3, 1995.

16. Investors in the Transcon Investments, or some of them, were provided a
document to demonstrate that Lloyd’s of London insured E.I.S.A. accounts in US. financial

institutions under Lloyd’s Policy # 823/AM9 100780 with the “Assured” being Trans
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Continental Airlines, Inc. Orlando, Florida, 32819 U.S.A.

17. Investors in the Transcon Investments, or some of them, were either provided
reports issued by D&B or were informed of such reports which touted the financial soundness of
Transcontinental Airlines, and which reports were based entirely on fictitious reports from
Pearlman and his cohorts which D&B accepted as true and incorporated in its own reports over a
period of more than a decade.

18. §517.021, Florida Statutes, entitled Definitions, provides at subsection (20) the
following definition of a security:

(20) “Security” includes any of the following:
(a) ...
(f) An evidence of indebtedness.
(q) An investment contract.

19. The Transcon Investments were “securities” as defined by F.S. §517.021 (20)(
and (q).

20. The Transcon Investments were not “federal covered securities” as defined by
F.S. §517.021(10).

21. | Upon information and belief, in connection with the sale of the Transcon
Investments, no persons were ever registered as an “issuer,” “dealer” or “associated person”
pursuant to the registration provisions of Chapter 517, Florida Statutes.

22. At all times material to this action, the Transcon Investments offered to Plaintiffs
were never registered as “‘securities” pursuant to the registration provisions of Chapter 517,
Florida Statutes.

23. | Recommending the investment in the Transcon Investments constitutes the
rendering of investment advice.

24. Pearlman and his co-conspirators obtained money from the Transcon Investors by
means of a scheme to defraud, and misrepresentations and omissions of material facts in
connection with the rendering of investment advice in violation of §517.301 of the Florida
Securities and Investor Protection Act, falsely misrepresenting to the Plaintiffs material facts as

set forth herein above.
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25. In connection with the transactions described above, Pearlman and his co-
conspirators also omitted to disclose material facts to the Transcon Investors in violation of
§517.301, Florida Securities and Investor Protection Act, as set forth herein above.

26. In connection with the transactions described above, Pearlman and his co-
conspirators employed a scheme to defraud and engaged in business which operated as a fraud,
as previously set forth herein, all in violation of F.S. §517.301.

27. F.S. §517.301, entitled Fraudulent transactions; falsification or concealment of
facts, provides at section (1)(a)1, 2, and 3, the following:

(1) It is unlawful and a violation of the provisions of this chapter for a person:

(a) In connection with the rendering of any investment advice or in connection
with the offer, sale, or purchase of any investment or security, including any
security exempted under the provisions of §517.051 and including any security
sold in a transaction exempted under the provisions of §517.061, directly or
indirectly:
1. To employ any device, scheme, or artifice to defraud;
2. To obtain money or property by means of any untrue statement of a
material fact necessary in order to make the statements made, in the light
of the circumstances under which they were made, not misleading; or
3. To engage in any transaction, practice, or course of business which
operates or would operate as a fraud or deceit upon a person.

28. Pearlman and his co-conspirators violated the registration and anti-fraud
provisions of the Florida Securities and Investor Protection Act in selling unregistered securities
and engaging in fraudulent misrepresentations and omissions in connection with the sale of the
Transcon Investments.

29. In late 2006, Pearlman’s Ponzi scheme began to unravel. Transcon was unable to
pay investors interest on their investments or cash people out of their Transcon Investments.

OFR TAKES ACTION
30. On December 27, 2006, OFR filed suit against Pearlman. In February 2007, the

State regulators announced that Pearlman had indeed engaged in a massive fraud and a receiver
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was appointed by the Court to take possession of all of the Transcon companies and assets.
Later, Pearlman himself and all the Transcon companies filed for bankruptcy, which bankruptcy
proceeding is still pending and being jointly administered by a single Trustee, Soneet Kapila.

31. OFR sued Transcon to enjoin the continuing violation of the Florida Securities
and Investor Protection Act, Chapter 517, Florida Statutes, and the Florida Financial Institution
Code, Chapter 655, Florida Statutes.

32. On May 21, 2008, Pearlman was sentenced to 25 years in federal prison, after
pleading guilty to charges of conspiracy, money laundering, and making false statements during a
bankruptcy proceeding. U.S. District Judge G. Kendall Sharp gave Pearlman the chance to cut his
prison time, by offering to reduce the sentence by one month for every million dollars he helps
bankruptcy Trustee Kapila recover. Pearlman is currently in Federal prison serving his sentence.

JURISDICTIONAL ALLEGATIONS

33. Jurisdiction is proper under 28 U.S.C. section 1332 (d). The matter in controversy
exceeds $5,000,000 and at least one Plaintiff is a citizen of a State different from that of a
Defendant.

34. Pursuant to 28 U.S.C. section 1391(b), venue in this Court is appropriate. All
defendants are subject to personal jurisdiction in the Middle District of Florida, and a substantial
portion of the acts underlying the claims contained in this Complaint occurred in this District.

35. Certain Plaintiffs listed in Appendix “A” are individual citizens of the state of
Florida. Other Plaintiffs are citizens of other states. All Plaintiffs invested monies in the
Pearlman Fraud and have lost approximately a total of at least $40,820,000 as a result of
Defendants’ conduct.

36. Defendant Bank of America (“Bank of America’) is a publicly traded company
listed on the New York Stock Exchange (“BAC”) headquartered in Charlotte, NC, that operates
throughout the United States and in more than 30 foreign countries, providing a variety of
banking and non-banking financial services and products domestically and internationally, is a
member of the Dow Jones Industrial Average, and is conducting business and banking operations
in the State of Florida and this judicial district.

37. Defendant Fifth Third Bank (“Fifth Third”) is a state chartered financial
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institution located in Grand Rapids, Michigan, which is authorized to do business and is doing
business in the State of Florida and in this judicial district which acquired the former First
National Bank of Florida in 2005, which itself acquired Central Bank of Florida in 2002, and
merged with First National Bank of Florida, Fifth Third Bank being the surviving corporation.

38. Defendant Sun Trust Bank is a publicly traded company listed on the New York
Stock Exchange (“STI”) headquartered in Atlanta, GA, with total assets of $174.8 billion as of
September 30, 2008, and claims to be one of the nation’s largest and strongest financial holding
companies, which, through its banking subsidiaries, provides deposit, credit, trust, and
investment services to a broad range of retail, business, and institutional clients, operating 1,692
retail branches and 2,506 ATMs in Florida and other states in the Southeastern and Mid-Atlantic
regions of the United States. As such, it is conducting business and banking operations in the
State of Florida and in this judicial district.

39. Defendant Carolina First Bank, (“Carolina’’) is a South Carolina corporation
which is the successor in interest to Mercantile Bank, a Florida Corporation, by reason of merger
completed on July 1, 2007, with Carolina First Bank being the surviving corporation. Carolina is
a wholly owned subsidiary of The South Financial Group (NASDAQ: TSFG), the largest
publicly-traded bank holding company headquartered in South Carolina, which was founded in
1986 and ranks among the top 50 US commercial banks with approximately $14 billion in total
assets. Defendant Carolina is conducting business and banking operations in the State of Florida
and in this judicial district.

40. Defendant D&B (NYSE:DNB) is a Delaware corporation with a principal place of
business in New Jersey, which is authorized and is doing business within the State of Florida and
this district, which claims to be the world’s leading source of commercial information and insight
on businesses for the last 167 years, and which maintains a global commercial database
containing more than 130 million business records, allegedly allowing D&B to provide its
customers with “quality business information.”

ROLE OF THE DEFENDANTS IN THE PEARLMAN FRAUD
41. Each of Defendant Banks engaged in atypical and irregular banking practices and

failed to follow their own internal procedures, which conduct made it possible for Pearlman and
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his cohorts to deposit vast sums of money acquired from Plaintiffs and other investors and to
convert said funds for improper, non-corporate purposes, which course of conduct would
normally have been deemed suspicious activities akin to money laundering of which Defendant
Banks were aware or chose to ignore.

42. All Defendants, through their personnel, had actual knowledge of the Pearlman
Fraud or certain elements thereof, at all relevant times and assisted Pearlman and his cohorts in
their prosecution of the Pearlman Fraud.

43. | The Defendant Banks benefitted from the monies which they were able to deposit
from the Transcon Investments as well as from the millions of dollars in commercial transactions
in which they engaged with Pearlman and from which they earned fees as a direct result of their
involvement, receipt and transfer of monies that came from the Pearlman Fraud.

44. By reason of the foregoing, The Defendant Banks had actual and/or constructive
knowledge of the Pearlman Fraud.

45. Defendants Banks failed to adhere to the customary and accepted standard of care
and failed to monitor incoming deposits and wires and other monies entrusted to them to insure
that they were properly handled and documented according to industry and internal standards of
practice.

46. The aforesaid conduct and failures of Defendants Banks were in furtherance of
and substantially assisted the Pearlman Fraud, absent which the Pearlman Fraud would not have
been possible.

47. Defendant Banks knew, or had ample reason to know that the Plaintiffs’ E.I.S.A.
funds were intended by Plaintiffs to be treated as trust funds and also knew that those funds were
being mishandled by Pearlman and his cohorts.

48. Once Defendant Banks were put on notice of a misappropriation of trust funds,
they were obligated to take reasonable steps to prevent the misappropriation that an investigation
would uncover, yet failed to do so.

49. In addition, Defendant D&B accepted as true and incorporated in its reports all of
the false and fraudulent information provided by Pearlman and his cohorts in fictitious financial

statements, prepared by a fictitious accounting firm conjured up by Pearlman and his cohort,
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which reports were issued over a period of well over a decade.
COUNT I
BREACH OF FIDUCIARY DUTY AGAINST DEFENDANT BANKS

50. Plaintiffs incorporate by reference all prior paragraphs of this Complaint as
though fully set forth herein.

51. Also as described above, Defendant Banks substantially assisted the Pearlman
Fraud and thus breached its fiduciary duties owed to the Plaintiffs.

52. Plaintiffs have suffered substantial financial injury as a result of Defendant
Banks’s conduct, as alleged herein.

53. Defendant Banks engaged in the above-described acts while Defendant Banks had
a fiduciary relationship with Plaintiffs. Whereas Defendant Banks was a custodian and/or trustee
of Plaintiffs’ accounts, Defendant Banks owed a duty of loyalty, a duty to exercise reasonable
care and skill, and a duty to deal with them fairly and impartially, which conduct constitutes a
breach of Defendant Banks’s fiduciary duties, and the result of which was to convince the
Plaintiffs that their money was safe and the Transcon Investments were legitimate.

WHEREFORE, Plaintiffs demand judgment for damages, interest, prejudgment interest,
attorneys’ fees and costs, and for such other and further relief that this Court deems appropriate.

COUNT II
AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
AGAINST DEFENDANT BANKS

54. Plaintiffs incorporate by reference all prior paragraphs of this Complaint as
though fully set forth herein.

55. Under Florida Law, Pearlman and his cohorts acted as fiduciaries with respect to
the Transcon Investments which were placed on deposit with Defendant Banks.

56. Furthermore, under Florida Law (F. S. §673.3061 and §673.3071), signatories on
the deposit accounts maintained by Pearlman’s companies, signatories such as Pearlman himself,
act as fiduciaries with respect to the funds on deposit in said deposit accounts, the source of
which was the funds invested by Plaintiffs, among others, in the Transcon Investments.

57. Pearlman and his cohorts, as signatories on the various Pearlman corporate

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accounts, violated their fiduciary duties by negotiating instruments for non-corporate purposes,
which conduct was facilitated by Defendant Banks, all to the detriment of Plaintiffs who are
considered “represented persons” within the meaning of the statutes.

58. Defendant Banks acted on those instructions from Pearlman and his cohorts even
though Defendant Banks had notice of the fiduciary nature and notice of his/their breach of
his/their fiduciary duty.

59. Pearlman and his co-conspirators, having rendered investment advice to the
Plaintiffs, were themselves fiduciaries owing a fiduciary duty of care to the Plaintiffs.

60. Defendant Banks and D&B had knowledge of the Pearlman Fraud, or at least
some of the elements of the Pearlman Fraud and rendered substantial assistance to Pearlman and
his co-conspirators in their fraudulent conduct.

61. | Asaresult of Defendants’ aiding and abetting the Pearlman Fraud and Pearlman’s
breaches of fiduciary duties, the Pearlman Fraud was allowed to grow and flourish, causing
Plaintiffs to suffer damages, with interest thereon, in an amount to be determined at trial.

WHEREFORE, Plaintiffs demand judgment for damages, interest, prejudgment interest,
attorneys’ fees and costs, and for such other and further relief that this Court deems appropriate.

COUNT III
AIDING AND ABETTING COMMON LAW FRAUD AGAINST ALL DEFENDANTS

62. Plaintiffs incorporate by reference all prior paragraphs of this Complaint as
though fully set forth herein.

63. Defendant Banks and D&B had knowledge of the Pearlman Fraud, or at least
some of the elements of the Pearlman Fraud and rendered substantial assistance to Pearlman and
his co-conspirators in their fraudulent conduct.

64. As aresult of Defendants’ aiding and abetting Pearlman and his co-conspirators,
the Pearlman Fraud was allowed to flourish, and Plaintiffs suffered damages, with interest
thereon, in an amount to be determined at trial.

65. Plaintiffs have suffered substantial financial injury as a result of Defendants’
conduct, as alleged herein.

WHEREFORE, Plaintiffs demand judgment for damages, interest, prejudgment interest,

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attorneys’ fees and costs, and for such other and further relief that this Court deems appropriate.
COUNT IV
AIDING AND ABETTING VIOLATION OF THE FLORIDA SECURITIES
AND INVESTOR PROTECTION ACT AGAINST ALL DEFENDANTS

66. Plaintiffs incorporate by reference all prior paragraphs of this Complaint as
though fully set forth herein.

67. Defendants aided and abetted Pearlman and his co-conspirators, acting in concert
with various sales agents at their control, and in connection with the offer and sale of an
investment or security as represented by the Transcon Investments by providing substantial
assistance to Pearlman and his co-conspirators who employed various devices, schemes, or
artifices to defraud Plaintiffs in connection with their purchase of the Transcon Investments
through custodial accounts maintained with Defendants.

68. | Defendants aided and abetted Pearlman and his co-conspirators, acting in concert
with various sales agents at their control, in connection with the offer and sale of an investment
or security as represented by the Transcon Investments by providing substantial assistance to
Pearlman and is co-conspirators who directly or indirectly obtained money or property, often
monies directed through Plaintiffs’ Defendants custodial accounts, by means of an untrue
statement of a material fact or by an, omission to state a material fact necessary in order to make
the statements made, in the light of the circumstances under which they were made, not
misleading.

69. Defendants aided and abetted Pearlman and his co-conspirators, acting in concert
with various sales agents at their control, in connection with the offer and sale of the Transcon
Investments by providing substantial assistance to Pearlman and his co-conspirators who
obtained money or property through the offer and sale of unregistered securities within the state
of Florida.

70. Defendants aided and abetted Pearlman and his co-conspirators, acting in concert
with various sales agents at their control, in connection with the offer and sale of the Transcon
Investments by providing substantial assistance to Pearlman and his co-conspirators who

obtained money or property through the offer and sale of unregistered securities within the state

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of Florida, even though none of the parties were registered as securities salesmen with the State
of Florida.

71. Pursuant to F.S. § 517.211(2), remedies available in cases of unlawful sale,
Plaintiffs are entitled to damages and/or rescission from all Defendants.

WHEREFORE, Plaintiffs demand judgment for rescission, damages, interest,
prejudgment interest, attorneys’ fees and costs, and for such other and further relief that this

Court deems appropriate.
COUNT V
COMMERCIAL BAD FAITH AGAINST DEFENDANT BANKS

72. Plaintiffs incorporate by reference all prior paragraphs of this Complaint as
though fully set forth herein.

73. Defendant Banks, by facilitating the Pearlman Fraud, engaged in a scheme or acts
of wrongdoing with actual knowledge of the scheme or wrongdoing that amounts to bad faith

74. Alternatively, bank principals acted in confederation with Pearlman and his
cohorts which conduct constitutes commercial bad faith.

75. Defendant Banks had sufficient knowledge of the Pearlman Fraud and the
improper use of Plaintiffs’ funds as to be on notice that reporting of such suspicious activities
was required under the USA Patriot Act.

76. Defendant Banks rendered substantial assistance to Pearlman and his cohorts in
the removal from corporate accounts of the very funds invested by Plaintiffs and other investors
so that these funds would be out of the reach of investors or other creditors.

77. Responsible officers of Defendant Banks were aware of these suspicious activities
and failed to conduct internal investigations or reporting to governmental officials, including the
State of Florida, the illegal and fraudulent nature of the Pearlman Fraud, which investigation and
reporting would have rendered the Pearlman Fraud impossible to continue.

78. Under U.C.C. Article 3 (F.S. § 673, et seq.), applicable when a transferee acts

dishonestly with actual knowledge of facts and circumstances that amount to bad faith, the

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transferee, here the Defendant Banks, become a participant in a fraudulent scheme and liable to
victims of said fraud.

WHEREFORE, Plaintiffs demand judgment for rescission, damages, interest,
prejudgment interest, attorneys’ fees and costs, and for such other and further relief that this
Court deems appropriate.

COUNT VI

AIDING AND ABETTING VIOLATION OF FLORIDA’S
UNIFORM FRAUDULENT TRANSFER ACT AGAINST DEFENDANT BANKS

79. Plaintiffs incorporate by reference all prior paragraphs of this Complaint as
though fully set forth herein.

80. As part of the Pearlman Fraud, Plaintiffs monies that had been deposited in or
with Defendants Banks were permitted by Defendant Banks to be improperly transferred to third
party accounts or to other third parties.

81. The aforesaid transfers were done without Plaintiffs’ knowledge or consent and
without consideration being given to Plaintiffs.

82. The aforesaid transfers were conducted at a time that Defendants Banks knew or
should have known that the transfers were unauthorized, improper and illegal.

83. The aforesaid transfers were made in part by Defendants Banks to use Plaintiffs’
monies to re-pay Defendant Banks sums owed by Pearlman and his cohorts or to pay debt that
Defendant Pearlman or his companies owed to third parties, or simply to permit these funds to be
misappropriated.

84. The aforesaid transfers were also made to hinder, delay or defraud the Plaintiffs’
ability to recover their monies.

85. The aforesaid transfers violated Florida’s Uniform Fraudulent Transfer Act
(“UFTA”) found in F.S. §726.105.

86. Plaintiffs are all creditors of Pearlman and the Transcon companies as that term is
defined in UFTA.

87. | Had Defendant Banks not permitted the misuse of Plaintiffs’ funds by Pearlman

and his cohorts, those funds would have been available to pay the losses incurred by Plaintiffs.

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88. By reason of the foregoing, Defendant Banks have aided and abetted Pearlman
and his cohorts in violating the UFTA all to Plaintiffs’ damage.

WHEREFORE, Plaintiffs demand judgment for rescission, damages, interest,
prejudgment interest, attorneys’ fees and costs, and for such other and further relief that this
Court deems appropriate.

COUNT VII
GROSSLY NEGLIGENT AND RECKLESS MISREPRESENTATIONS AGAINST D&B

89. Plaintiffs incorporate by reference all prior paragraphs of this Complaint as
though fully set forth herein.

90. | Where acourse of conduct is such that the likelihood of injury to property is
known by the actor to be imminent, then that negligence is considered gross negligence.

91. The reports issued by D&B were flagrantly false and based entirely upon fictitious
reporting by Pearlman and his cohorts which a minimal amount of investigation by D&B would
have disclosed to be entirely without basis.

92. D&B was aware that its false reports were highly likely to cause imminent loss
to its subscribers who relied on those reports.

93. D&B knew that there was no basis for the ratings it was assigning to Pearlman
and Transcon.

94. It was reasonably foreseeable that investors such as Plaintiffs would rely on
D&B’s ratings in making their investment decisions.

95. | Yet D&B continued to give Pearlman’s companies favorable ratings and reports
despite its knowledge of Pearlrnan’s fraud.

96. D&B engaged in gross negligence and evinced a reckless disregard for the
accuracy of its reports for a period of at least ten years all to the detriment of the Plaintiffs who
had no reason to disbelieve the financial information reported by D&B.

97. Plaintiffs either were presented with copies of the D&B reports or were advised
by Pearlman and his cohorts that D&B had issued favorable credit reports concerning Pearlman

and the Transcon companies.

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98. Had D&B performed a minimum of due diligence and not acted recklessly, and
had D&B reported information readily available to its personnel, Pearlman and his cohorts would
not have been able to perpetuate the Pearlman Fraud and Plaintiffs’ losses would have been

avoided,
WHEREFORE, Plaintiffs demand judgment for rescission, damages, interest,
prejudgment interest, attorneys’ fees and costs, and for such other and further relief that this

(Robert J. Jeisley Esquire

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ert(@investorattomeys.com

Court deems appropriate.
Dated: December AY2008

 

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Fax: 813-282-0384

Email: jameslowy@LowyLawFirm.com

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Appendix A
NAME TOTAL

Alkow, Beverly (IRA) $612,154.45
Andrews, Fred (IRA) $123,877.79
Arkin, Deborah (EPP) $19,515.94
Arkin, Steven (IRA) $119,432.93
Barrett, Joanne (Rollover) $63,614.39
Bernstein, Joan (IRA) $185,725.37
Bernstein, Maurice (IRA) $105,087.99
Boenig, Jeffrey (IRA) $34,309.65
Chitester, Lester (IRA) $51,375.07
Chitester, Mary (IRA) $143,207.93
DeWalt, David Allen (Rollover IRA) $169,047.47
DeWalt, David Allen (Pension Plan) $19,945.30
Dexter, Lynn (IRA) $24,916.89
Dynasty Construction 401K (FISERV statement shows: $854,573.23;

Indivdual accts total: $913,044.97 $913,044.97
Barrett, John, (Dynasty) As Trustee

Hirschmann, France (Emp. Pension Plan) $3,500.00
Hirschmann, France (IRA) $12,933.46
Hirschmann, Kenneth (IRA) $339,356.49
Jonas, Barry ( IRA) $284,966.89
Kesinger, Margie (IRA) $74,298.06

Kesinger, Margie (Rollover) $4,726.43

Miller, Wayne A. (Rollover) $34,039.33
Monks, Rosalie (IRA) $78,852.76
Nevier, Leda (IRA) $36,178.60
Paaso, Theodora (Rollover) $27,882.91
Parr, Stephen (Simple) $107,191.01
Pashayan, Maria Dr. (Keogh) $328,327.31
Pashayan, Maria Dr. (IRA) $50,850.85
Pashayan, Richard Dr. (Keogh) $1,308,595.90
Pashayan, Richard Dr. (IRA) $50,487.37
Provenzano, Linda (IRA) $86,394.56
Reed, Beverly (IRA) $100,927.54
Richardson, Elizabeth (IRA) $131,272.59
Rosen, Paula (IRA) $13,103.56
Rosen, Paula (IRA) $77,648.90
Rothschild, Jerome (IRA) $45,000.00
Sarin, Sheryl (IRA) $12,848.84
Scheller, Frederick (Rollover) $19,816.01
Scheller, Libia (Rollover) $9,316.60
Swette, Dominique (!RA) $116,734.08
Williams, James (IRA) $85,141.34
Wright, Betsy (IRA) $322,639.95
Wright, Gregory (IRA) $198,180.80

 

TOTAL $6,546,468.28
